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 7
 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10
11      XOCHITL HERNANDEZ, CESAR                    ) Case No. 16-620
        MATIAS, for themselves and on behalf        )
12      of a class of similarly-situated            ) COMPLAINT – CLASS ACTION
        individuals,                                )
13                                                  )
                    Plaintiffs-Petitioners,         )
14                                                  )
                    v.                              )
15                                                  )
        LORETTA LYNCH, U.S. Attorney                )
16      General, JUAN P. OSUNA, Director,           )
        Executive Office for Immigration            )
17      Review, JEH JOHNSON, Secretary,             )
        Department of Homeland Security,            )
18      SARAH R. SALDAÑA, Director,                 )
        Immigration and Customs Enforcement         )
19      (ICE), DAVID JENNINGS, Field Office         )
        Director, Los Angeles Field Office of       )
20      ICE, JAMES JANECKA, Warden,                 )
        Adelanto Detention Facility;                )
21      CHRISTINA HOLLAND, Jail                     )
        Administrator, Santa Ana City Jail,         )
22      CARLOS ROJA, Chief, Santa Ana City          )
        Department, JON BRIGGS, Captain,            )
23      Orange County Sheriff’s Department          )
        (OCSD), MIKE KRUEGER, Captain,              )
24      OCSD, SANDRA HUTCHENS, Sheriff,             )
        Orange County, in their official capacity   )
25      only,                                       )
                                                    )
26                  Defendants-Respondents.         )
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 1                                        INTRODUCTION
 2     1.    This class action lawsuit challenges the federal government’s policy and
 3     practice of setting cash bonds for noncitizens in immigration proceedings, without
 4     regard to a noncitizen’s financial resources, which has resulted in the incarceration of
 5     individuals merely because they are poor. As a result of these policies and practices,
 6     many noncitizens—including longtime lawful permanent residents and asylum seekers
 7     fleeing persecution (including in some cases unlawful imprisonment)—are ordered
 8     released on a cash bond but cannot pay it, and remain detained for prolonged periods
 9     while their immigration cases are pending. The detention of such individuals is not
10     justified by any valid interest, but rather is based on nothing more than the fact that
11     they are poor or otherwise lack the financial ability to pay their bonds.
12     2.    Plaintiffs-Petitioners Xochitl Hernandez, a mother and grandmother who has
13     resided in the United States for more than twenty-five years, and Cesar Matias, a
14     Honduran national seeking asylum in the United States, are detained under the
15     Immigration and Nationality Act (“INA”), 8 U.S.C. § 1226(a). Each Plaintiff has been
16     granted release on a money bond pending their immigration removal proceedings.
17     However, Plaintiffs face months or even years in immigration detention because they
18     are unable to pay the bond set by Defendants. Indeed, Mr. Matias has already been
19     detained nearly three-and-a-half years because he cannot afford to pay his bond.
20     3.    Plaintiffs’ detentions result from three flaws in the immigration detention
21     process. First, as a matter of policy and practice, immigration officials are not required
22     to consider an immigration detainee’s financial ability to pay when setting a money
23     bond. Second, when they do set the bond amount, immigration officials require
24     noncitizens to post the full cash bond amount to be released, instead of permitting
25     noncitizens to post a deposit, property, or other assets as collateral. And third, as a
26     matter of policy and practice, immigration officials are not required to consider
27     whether alternative conditions of supervision (such as electronic monitoring or
28     periodic reporting requirements), alone or in combination with a lower bond amount,

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 1     would be sufficient to mitigate flight risk and thus permit the person’s release. The
 2     result is that the government incarcerates Plaintiffs and others solely because they lack
 3     the financial means to post the full bond amount that Defendants have set.
 4     4.     Plaintiffs are not alone. On any given day, at least a hundred similarly situated
 5     immigration detainees remain detained in this District on money bonds set pursuant to
 6     Defendants’ policies and practices.
 7     5.     Defendants’ policies and practices violate the INA; the due process and equal
 8     protection guarantees of the Fifth Amendment; and the Eighth Amendment’s
 9     Excessive Bail Clause. A person’s poverty or lack of financial resources should not
10     deprive him of his freedom. Indeed, the federal government has recognized in the
11     criminal bail context that “[i]ncarcerating [criminal defendants] solely because of their
12     inability to pay for their release . . . through the payment of . . . a cash bond . . .
13     violates the Equal Protection Clause . . . .” and that bail systems must “take individual
14     circumstances into account”—including the person’s financial ability to pay.1
15     6.     The same principles should govern here. The INA and U.S. Constitution require
16     that the government both assess an individual’s financial ability to pay when setting
17     bond and determine if alternative forms of bond or other conditions of supervision
18     permit the detainee’s release. These basic procedures are necessary to ensure that
19     Plaintiffs and similarly situated individuals are not impermissibly imprisoned based
20     solely on their inability to pay.
21                                              PARTIES
22     7.     Plaintiff-Petitioner Xochitl Hernandez is a native and citizen of Mexico. She is
23     detained at the Adelanto Detention Center in Adelanto, California pending
24     immigration removal proceedings. Ms. Hernandez came to the United States as an
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       1
        Statement of Interest of the United States at 1, 8 (hereinafter “Varden Statement”),
26     Varden v. City of Clanton, No. 2:15-cv-00034-MHT (M.D. Ala.filed Feb. 13, 2015)
       (Dkt. 26) sub nom. Jones v. The City of Clanton; accord U.S. Dep’t of Justice, Dear
27     Colleague Letter, Mar. 14, 2016, at 7-8, available at
       https://www.justice.gov/crt/file/832461/download (stating that “[c]ourts must not
28     employ bail or bond practices that cause indigent defendants to remain incarcerated
       solely because they cannot afford to pay for their release”).
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 1     adolescent, and has lived in the United States for more than 25 years. Ms. Hernandez
 2     is a single mother who has raised five children in the United States, and cares for her
 3     four grandchildren. All her children and grandchildren are United States citizens. Prior
 4     to her detention, Ms. Hernandez lived with her children and grandchildren, and
 5     cooked, cleaned, and cared for her family, including her mother who suffers from a
 6     heart condition. More than a decade ago, Ms. Hernandez was convicted for
 7     shoplifting, for which she was sentenced to one-day in jail; it is the sole crime for
 8     which she has been convicted during her decades in the United States. In March 2016,
 9     an immigration judge conducted a bond hearing in Ms. Hernandez’s case under
10     Section 1226(a) and set her bond at $60,000. Ms. Hernandez and her family do not
11     have the financial ability to pay this bond. Ms. Hernandez’s adult children have no
12     assets, and have to dedicate their limited earnings to rent, food, and other basic
13     necessities. Ms. Hernandez remains detained because of Defendants’ policy and
14     practice of failing to consider immigration detainees’ financial ability to pay a bond;
15     requiring detainees to post the full cash bond amount to be released; and failing to
16     consider whether release on an alternative form of bond or conditions of supervision
17     would sufficiently address any concerns about flight risk. Ms. Hernandez is eligible
18     for cancellation of removal and for a U-visa (as a victim of domestic violence), but
19     faces the prospect of months or years in detention until her immigration case is
20     resolved.
21     8.    Plaintiff-Petitioner Cesar Matias is a native and citizen of Honduras. Prior to his
22     detention, Mr. Matias resided in Los Angeles and worked as a hair stylist. Mr. Matias
23     has been detained for more than four years at the Santa Ana City Jail in Santa Ana,
24     California pending immigration removal proceedings. A gay man, Mr. Matias is
25     seeking protection in the United States on account of the severe persecution he
26     suffered in Honduras because of his sexual orientation. In November 2012, and again
27     in February 2013, August 2013, and August 2014, Defendants authorized Mr. Matias’
28     release on a $3,000 bond under Section 1226(a). However, Mr. Matias has remained

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 1     detained because of Defendants’ policy and practice of failing to consider immigration
 2     detainees’ financial ability to pay a bond; requiring detainees to post the full cash
 3     bond amount to be released; and failing to consider whether release on an alternative
 4     form of bond or conditions of supervision would sufficiently address any concerns
 5     about flight risk. Mr. Matias’ removal case is pending at the Ninth Circuit Court of
 6     Appeals, which has ordered a stay of removal and appointed him pro bono counsel in
 7     connection with his appeal. He faces the prospect of months or years of additional
 8     detention until his case is resolved.
 9     9.    Defendant-Respondent Loretta Lynch is the Attorney General of the United
10     States and the most senior official in the U.S. Department of Justice (“DOJ”). She has
11     the authority to interpret the immigration laws and adjudicate removal cases. The
12     Attorney General delegates this responsibility to the Executive Office for Immigration
13     Review (“EOIR”), which administers the immigration courts and the Board of
14     Immigration Appeals (“BIA”). She is named in her official capacity.
15     10.   Defendant-Respondent Juan P. Osuna is the Director of EOIR, the agency
16     within DOJ responsible for the immigration courts and the BIA. He is named in his
17     official capacity.
18     11.   Defendant-Respondent Jeh Johnson is the Secretary of the U.S. Department of
19     Homeland Security (“DHS”), an agency of the United States. Secretary Johnson is a
20     legal custodian of Plaintiff-Petitioners and other members of the proposed class
21     (“Plaintiffs”). He is named in his official capacity.
22     12.   Defendant-Respondent Sarah R. Saldaña is the Director of U.S. Immigration
23     and Customs Enforcement (“ICE”). ICE is responsible for apprehension, detention,
24     and removal of noncitizens from the United States. Director Saldaña is a legal
25     custodian of the Plaintiffs. She is named in her official capacity.
26     13.   David Jennings is the Field Office Director for the Los Angeles Field Office of
27     ICE, a component of DHS. Director Jennings has custody of the Plaintiffs and is
28     named in his official capacity.

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 1     14.     Defendant-Respondent James Janecka is the Warden of the Adelanto Detention
 2     Facility in Adelanto, California. Warden Janecka has custody of the Plaintiffs and is
 3     named in his official capacity.
 4     15.     Defendant-Respondent Christina Holland is the Jail Administrator of the Santa
 5     Ana City Jail in Santa Ana, California. Defendant Holland has custody of the
 6     Plaintiffs and is named in her official capacity.
 7     16.     Defendant-Respondent Carlos Roja is the Chief of the Santa Ana City
 8     Department, which operates the Santa Ana City Jail in Santa Ana, California. Chief
 9     Holland has custody of the Plaintiffs and is named in his official capacity.
10     17.     Defendant-Respondent Jon Briggs is a Captain in the Orange County Sheriff’s
11     Department and the Officer-in-Charge of the Theo Lacy Facility in Santa Ana,
12     California. Captain Briggs has custody of the Plaintiffs and is named in his official
13     capacity.
14     18.     Defendant-Respondent Mike Krueger is a Captain in the Orange County
15     Sheriff’s Department and the Officer-in-Charge of the James A. Musick Facility in
16     Irvine, California. Captain Krueger has custody of the Plaintiffs and is named in his
17     official capacity.
18     19.     Defendant-Respondent Sandra Hutchens is the Sheriff of Orange County, which
19     operates the Theo Lacy Facility in Santa Ana, California, and the James A. Musick
20     Facility in Irvine, California. Chief Hutchens has custody of the Plaintiffs and is
21     named in her official capacity.
22                                 JURISDICTION AND VENUE
23     20.     Jurisdiction is proper under 28 U.S.C. §§ 1331, 1361, 1651, 2241; the
24     Suspension Clause, U.S. Const. art. I, § 2; and 5 U.S.C. § 702.
25     21.     Plaintiffs seek declaratory and injunctive relief pursuant to 28 U.S.C. §§ 2201-
26     2202.
27     22.     Venue is proper in the Central District of California under 28 U.S.C. § 1391
28     because at least one federal Defendant is in this District, the Plaintiffs are detained in

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 1     this District, and a substantial part of the events giving rise to the claims in this action
 2     took place in this District.
 3                                         BACKGROUND
 4     Legal Background
 5     23.   INA § 236(a), 8 U.S.C. § 1226(a), authorizes immigration officials to release a
 6 noncitizen on appropriate conditions pending the resolution of his or her immigration
 7 case. Section 1226(a) provides that, “pending a decision on whether the alien is to be
 8 removed from the United States,”
 9           “the Attorney General--
                   (1) may continue to detain the arrested alien; and
10                 (2) may release the alien on--
                          (A) bond of at least $1,500 with security approved by, and
11                        containing conditions prescribed by, the Attorney General;
                          or
12                        (B) conditional parole . . . .”
13     Id.
14     24.   The Attorney General shares his authority to detain or release noncitizens under
15 Section 1226(a) with the Secretary of Homeland Security. See 8 U.S.C. § 1103(a) &
16 (g); Homeland Security Act of 2002, Pub. L. No. 107-296, § 441, 116 Stat. 2192.
17     25.   The Department of Homeland Security (“DHS”) makes an initial custody
18     determination for each noncitizen detained under the statute, whereby the agency
19     considers him or her for release on bond, recognizance, or other conditions (such as
20     electronic monitoring, periodic reporting requirements, restrictions on travel, or
21     enrollment in a substance abuse program). With some exceptions not relevant here,
22     noncitizens may seek review of an ICE custody determination before an immigration
23     judge (“IJ”) at a hearing commonly known as a “bond hearing.” See 8 C.F.R.
24     §§ 1003.19(a) & (h)(2)(i). At the bond hearing, the IJ likewise determines whether the
25     noncitizen can be released on bond, recognizance, or other conditions. See 8 C.F.R.
26     § 1236.1(d)(1); 8 C.F.R. § 1003.19.
27     26.   To obtain release from ICE or the IJ, the noncitizen must “demonstrate to the
28     satisfaction of the officer that [his or her] release would not pose a danger to property

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 1     or persons, and that [he or she] is likely to appear for any future proceeding.” 8 C.F.R.
 2     § 1236.1(c)(8); Matter of Adeniji, 22 I. & N. Dec. 1102 (BIA 1999). A noncitizen
 3     found to present a danger to persons or property is ineligible for release on bond.
 4     Matter of Guerra, 24 I. & N. Dec. 37, 38 (BIA 2006). If the person does not pose a
 5     danger and is likely to appear at future proceedings, the ICE officer or IJ determines
 6     whether the noncitizen may be released on recognizance, bond, or other conditions
 7     that will sufficiently address any concerns about flight risk. See id. at 39-40.
 8     27.   There is presently no requirement that ICE consider a detainee’s poverty or
 9     financial ability to pay when setting a bond under Section 1226(a). Nor is there any
10     requirement that ICE determine whether conditions of supervision, alone or in
11     combination with a lower bond, would suffice to allow for the person’s release.
12     28.   Under BIA precedent, the IJ has “broad discretion in deciding the factors that
13     he or she may consider in custody redeterminations.” Guerra, 24 I. & N. Dec. at 40.
14     However, there is no requirement that IJs consider an individual’s ability to pay the
15     bond. Indeed, in a series of unpublished decisions, the BIA has held that a person’s
16     financial circumstances are irrelevant to a bond determination. See In Re Sandoval-
17     Gomez, 2008 WL 5477710, at *1 (BIA Dec. 15, 2008) (“an alien’s ability to pay the
18     bond amount is not a relevant bond determination factor”); In Re Castillo-Cajura,
19     2009 WL 3063742, at *1 (BIA Sept. 10, 2009) (same). Nor is there any requirement
20     that IJs determine whether conditions of supervision, alone or in combination with a
21     lower bond, would sufficiently address any concerns about flight risk and therefore
22     suffice to allow for the person’s release.
23     29.   The regulations further permit the noncitizen to seek a new bond
24     redetermination by the IJ, but “only upon a showing that the alien’s circumstances
25     have changed materially since the prior bond redetermination.” 8 C.F.R. § 1003.19(e).
26     However, Defendants do not recognize a person’s financial inability to post bond,
27     despite having made good faith efforts to do so, as a “changed circumstance” that
28     warrants a new bond hearing.

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 1   30.   Section 1226(a) imposes a minimum $1,500 bond, “with security approved by
 2   . . . the Attorney General.” However, in practice ICE or IJs routinely set higher bonds,
 3   such as $20,000, $25,000, and even $100,000 or more.
 4   31.   Moreover, although Section 1226(a) refers broadly to “security approved by . . .
 5   the Attorney General,” the government has a policy and practice of requiring
 6   immigration detainees to post the full cash value of the immigration bond to obtain
 7   release. In sharp contrast to the criminal justice system, no other forms of secured
 8   bonds are deemed acceptable, such as deposit bonds—where the noncitizen would
 9   post a percentage (such as 10%) of the bond as security, and the total bond amount
10   becomes due only if he fails to appear—or property bonds, where property valued at
11   the full bond amount would be posted as security and would be forfeited if the person
12   fails to appear.
13   32.   The government’s reliance on full cash bonds—without consideration of an
14   individual’s financial ability to pay the bond—is out of step with well-established
15   procedures in federal and state courts. Under the federal Bail Reform Act, a district
16   court must consider a range of alternative conditions before ordering release on
17   monetary bond and “may not impose a financial condition that results in the pretrial
18   detention of the person.” See 18 U.S.C. § 3142(a)-(c). Likewise, state criminal justice
19   systems in this Circuit require that judicial officers must consider a defendant’s
20   financial ability to pay at custody hearings. See, e.g., Alaska Stat. Ann.
21   § 12.30.011(c)(8) (requiring court to consider “assets available to the person to meet
22   monetary conditions of release”); Cal. Penal Code § 1270.1 (requiring court to
23   consider detained person’s “ability to post bond”); Nev. Rev. Stat. Ann. § 178.498
24   (requiring bail to be set with regard to “[t]he financial ability of the defendant to give
25   bail”); Mont. Code Ann. § 46-9-301 (requiring bail to be “considerate of the financial
26   ability of the accused”); Haw. Rev. Stat. Ann. § 804-9 (amount of bail should be
27   determined so as not “to render the privilege useless to the poor”); Wash. Rev. Code
28   Ann. § SUPER CT CR CrR 3.2(b)(6) (“If the court determines that the accused must

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 1   post a secured or unsecured bond, the court shall consider, on the available
 2   information, the accused’s financial resources for the purposes of setting a bond that
 3   will reasonably assure the accused's appearance.”). See also Gusick v. Boies, 72 Ariz.
 4   233, 237 (1951) (noting that that court should consider “the ability of the accused to
 5   give bail” when setting bail to comport with the prohibition of excessive bail).
 6   33.      Bond systems for criminal detainees also routinely accept the posting of deposit
 7   or property bonds, rather than insisting on payment of a full cash bond.
 8   34.      Federal and state officials—including the U.S. Department of Justice—are
 9   increasingly calling for an end to the over-reliance on monetary bond, fines, fees, and
10   other financial constraints that disproportionately affect low-income individuals in the
11   criminal justice system.2 However, the federal government’s immigration detention
12   policies practices suffer from the same flaws.
13                               CLASS ACTION ALLEGATIONS
14   Defendants’ Policies and Practices for Setting Immigration Bonds in the Central
     District of California
15
16   35.      ICE detains several thousand noncitizens in the Central District of California
17   (the “District”) at any given time, primarily at four detention facilities. The largest, the
18   Adelanto Detention Facility in Adelanto, California, is operated by the GEO
19   Corporation and has capacity to hold approximately 1,950 immigrants. ICE also
20   detains noncitizens in three other detention centers located in Orange County. The
21   James A. Musick Facility in Irvine, California, is operated by the Orange County
22   Sheriff and has capacity to hold approximately 350 immigrants. The Theo Lacy
23   Facility in Orange, California, is operated by the Orange County Sheriff and has
24   capacity to hold approximately 475 immigrants. The Santa Ana City Jail in Santa Ana,
25   California, is operated by the Santa Ana City Police and has capacity to hold
26   approximately 200 immigrants.
27   36.      As a matter of policy, practice, or both, ICE and IJs in the District are not
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     2
         See Varden Statement at 5-8, 11, 13-14.
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 1   required to consider an individual’s financial resources in setting bond amounts under
 2   Section 1226(a).
 3   37.   As a matter of policy, practice, or both, Defendants require that immigrants post
 4   the full cash bond to be released.
 5   38.   As a matter of policy, practice, or both, ICE and IJs are not required to consider
 6   whether an alternative form of bond or conditions of supervision, alone or in
 7   combination with a lower bond, would suffice to address flight risk and permit
 8   release.
 9   39.   On any given day, at least 100 immigrants—and likely many more—remain
10   detained in this District under Section 1226(a) on a bond set pursuant to these policies,
11   practices, or both. This is so even though, by setting a bond, Defendants have already
12   determined that such individuals do not pose a danger to the community or a level of
13   flight risk that requires their detention.
14   40.   The stories of the individual Plaintiffs are typical of the detention practices in
15   this District. For example, Plaintiff Matias was ordered released on a $3,000 bond
16   following a bond hearing in immigration court in approximately November 2012. At
17   the hearing, the IJ did not ask any questions about his financial circumstances or
18   ability to pay a bond. At a court hearing in February 2013, Mr. Matias again requested
19   release from detention to retrieve documents for his removal case. The IJ refused,
20   telling him the bond set was “pretty generous” even though he could not afford it. In
21   approximately August 2013, ICE re-evaluated Mr. Matias’s custody, but did not
22   inquire into his financial circumstances or ability to pay a bond. ICE issued a decision
23   ordering him released on a $3,000 bond, the same bond amount ordered by the IJ that
24   he had been unable to afford. At a hearing in approximately August 2014, Mr. Matias
25   requested that the IJ consider releasing him on non-monetary conditions but the IJ
26   refused, stating that the $3,000 bond amount was “reasonable,” even though Mr.
27   Matias had been unable to afford it for more than a year and a half at that point. As of
28   this time, Mr. Matias has remained detained for more than three and a half years since

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 1   his bond was initially set.
 2   41.   Similarly, Ms. Hernandez was ordered released on a $60,000 bond following a
 3   bond hearing in immigration court in March 2016. The immigration judge found that
 4   Ms. Hernandez was not a danger to the community, but that she “posed a flight risk”
 5   because she might not win her immigration case. However, prior to setting the bond,
 6   the immigration judge did not inquire into Ms. Hernandez’s financial circumstances or
 7   her ability to pay a bond, and did not state whether he considered whether she could
 8   be released on non-monetary conditions that would suffice to address concerns about
 9   flight risk. Because Ms. Hernandez and her family lack the resources to pay the bond,
10   she has been detained for several weeks since the bond was initially set, and faces the
11   prospect of months or years of additional time in detention until her case completes.
12   42.   Plaintiffs’ experiences are similar to those of other proposed class members.
13   For example, in one case of a detainee held in the Central District, an IJ refused to
14   lower a bond to an amount the detainee’s family could afford on the ground that
15   evidence of financial circumstances was “irrelevant” to the bond amount
16   determination. In another case of a detainee held in the Central District, a different IJ
17   refused to consider a detainee’s indigence and dismissed evidence of financial
18   hardship because “everyone is poor in here.”
19   This Action Satisfies the Requirements of Federal Rule of Civil Procedure 23
20   43.   Plaintiffs Hernandez and Matias bring this action pursuant to Federal Rules of
21   Civil Procedure 23(b)(2) on behalf of themselves and all other persons similarly
22   situated. The proposed class is defined as follows:
23
           All individuals who are or will be detained pursuant to 8 U.S.C.
24         § 1226(a) on a bond set by an U.S. Immigration and Customs
           Enforcement officer or an Immigration Judge in the Central District of
25
           California.
26
     44.   The requirements of Rule 23(a)(1) are met in this case because the class is so
27
     numerous that joinder of all members is impracticable. At any given time, at least 100
28
     persons remain detained on a bond set by government officials in this District
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 1   pursuant to the bond policies and practices that Plaintiffs challenge. More individuals
 2   will become class members in the future, as Defendants continue to detain additional
 3   noncitizens under Section 1226(a) on a monetary bond pursuant to their bond policies
 4   and practices.
 5   45.   Moreover, because Plaintiffs and proposed class members are detained pending
 6   removal proceedings, they may win their cases and be released or deported upon the
 7   conclusion of their removal cases. The inherently transitory state of the proposed class
 8   further demonstrates that joinder is impracticable.
 9   46.   The proposed class meets the commonality requirements of Federal Rule of
10   Civil Procedure 23(a)(2) because all proposed class members are subject to
11   Defendants’ three common policies or practices: Defendants’ failure to require that
12   ICE and IJs consider an individual’s ability to pay in setting a bond under Section
13   1226(a); Defendants’ requirement that detainees post full cash bonds rather than other
14   forms of secured bonds; and Defendants’ failure to require a determination that no
15   conditions of supervision, alone or in combination with a lower bond, would mitigate
16   flight risk. Defendants have concluded that they are not required to make such
17   inquiries or to accept alternative forms of secured bonds, and this policy applies to all
18   members of the proposed class.
19   47.   The proposed class meets the typicality requirements of Federal Rule of Civil
20   Procedure 23(a)(3) because the claims of the representative Plaintiffs are typical of the
21   claims of the class. Plaintiffs Hernandez, Matias, and the class they seek to represent
22   are all individuals who are or will be detained on a full cash bond pursuant to Section
23   1226(a), and whose bonds have been set or will be set without any requirement that
24   Defendants consider their financial ability to pay or the adequacy of an alternative
25   bond or alternative conditions of supervision. Plaintiffs Hernandez, Matias, and the
26   proposed class also share the same legal claims, which challenge the legality of these
27   bond policies and practices under the INA, the Due Process Clause and equal
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 1   protection guarantee of the Fifth Amendment, and the Eighth Amendment’s Excessive
 2   Bail Clause.
 3   48.   The proposed class meets the adequacy requirements of Federal Rule of Civil
 4   Procedure 23(a)(4). Plaintiffs Hernandez and Matias seek the same relief as the other
 5   members of the class—namely, custody decisions that require consideration of both
 6   their financial ability to pay a money bond and the adequacy of alternative conditions
 7   of supervision, as well as the opportunity to post forms of security other than a full
 8   cash bond—and they do not have any interests adverse to those of the class as a
 9   whole.
10   49.   In addition, the proposed class is represented by counsel from the American
11   Civil Liberties Union of Southern California, the American Civil Liberties Union
12   Immigrants’ Rights Project, and experienced pro bono attorneys. Counsel have
13   extensive experience litigating class action lawsuits and other complex cases in
14   federal court, including civil rights lawsuits on behalf of immigration detainees.
15   50.   Finally, the proposed class satisfies Federal Rule of Civil Procedure 23(b)(2)
16   because the immigration authorities have acted on grounds generally applicable to the
17   class by failing to apply procedures required by the U.S. Constitution and Section
18   1226(a) to all members of the proposed class. Thus, final injunctive and declaratory
19   relief is appropriate with respect to the class as a whole.
20   51.   In the alternative, the class also qualifies for certification under Federal Rules of
21   Civil Procedure 23(b)(1)(A) and (b)(1)(B).
22                                   CLAIMS FOR RELIEF
23
                                          First Claim
24                     Violation of the Immigration and Nationality Act
25   52.   All of the foregoing allegations are repeated and realleged as though fully set
26   forth herein.
27   53.   Defendants’ policies and practices for setting bond violate the Immigration and
28   Nationality Act (“INA”), 8 U.S.C. § 1226(a). Properly construed, Section 1226(a)

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 1   does not permit the government to detain Plaintiffs and proposed class members on a
 2   full cash bond absent consideration of the person’s financial ability to pay the bond
 3   amount and consideration of whether an alternative form of bond or other conditions
 4   of supervision, alone or in combination with a lower bond, would sufficiently mitigate
 5   flight risk. Plaintiffs’ detention under Section 1226(a) in the absence of such
 6   procedures violates the INA.
 7
                                            Second Claim
 8                  Violation of the Due Process Clause of the Fifth Amendment
 9                                 to the United States Constitution
     54.     All of the foregoing allegations are repeated and realleged as though fully set
10
     forth herein.
11
     55.     The Fifth Amendment to the U.S. Constitution provides that “[n]o person shall
12
     be . . . deprived of life, liberty, or property, without due process of law.” U.S. Const.
13
     amend. V. Due process requires that civil immigration detention be reasonably related
14
     to preventing flight and danger to the community and be accompanied by adequate
15
     procedures to ensure those goals are being met.
16
     56.     For these reasons, due process does not permit the government to detain
17
     Plaintiffs on a full cash bond absent a determination of a person’s financial ability to
18
     pay the bond amount and whether an alternative form of bond or other conditions of
19
     supervision, alone or in combination with a lower bond, can sufficiently mitigate
20
     flight risk.
21
                                         Third Claim
22           Violation of the Equal Protection Guarantee of the Fifth Amendment
23   57.     All of the foregoing allegations are repeated and realleged as though fully set
24   forth herein.
25   58.     The Fifth Amendment prohibits denying individuals the equal protection of the
26   laws.
27   59.     The government’s detention of individuals because they lack the financial
28   resources to pay a money bond, while affording release to individuals who can afford

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 1   a money bond, discriminates against individuals who are indigent or lack the
 2   resources to pay their bonds.
 3   60.    For this reason, equal protection does not permit the government to detain
 4   Plaintiffs on a full cash bond absent a determination of a person’s ability to pay the
 5   bond amount and whether an alternative form of bond or other conditions of
 6   supervision, alone or in combination with a lower bond, can sufficiently mitigate
 7   flight risk.
                                         Fourth Claim
 8
               Violation of the Excessive Bail Clause of the Eighth Amendment
 9                             to the United States Constitution
10   61.    All of the foregoing allegations are repeated and realleged as though fully set
11   forth herein.
12   62.    The Eighth Amendment provides that “[e]xcessive bail shall not be required
13   . . . .” U.S. Const. amend. VIII. “[B]ail must be set by a court at a sum designed to
14   ensure” the government’s goals of preventing flight and danger—“and no more.”
15   United States v. Salerno, 481 U.S. 739, 754 (1987).
16   63.    Thus, the Eighth Amendment does not permit the government to detain
17   Plaintiffs on a full cash bond absent a determination of a person’s ability to pay the
18   bond amount and whether an alternative form of bond or other conditions of
19   supervision, alone or in combination with a lower bond, can sufficiently mitigate
20   flight risk.
21                                   PRAYER FOR RELIEF
22   Plaintiffs ask this Court to grant the following relief:
23   1.     Certify this case as a class action lawsuit, as proposed herein, appoint Plaintiffs
24   Hernandez and Matias as representatives of the class and the undersigned counsel as
25   class counsel;
26   2.     Declare that Defendants’ policy and practice, as described in this Complaint, of
27   detaining class members on a full cash bond without requiring that ICE and the IJ
28   consider class members’ financial ability to pay when setting a bond, as well as the

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 1   adequacy of an alternative form of secured bond and alternative conditions of
 2   supervision, violates the INA, 8 U.S.C. § 1226(a), and the Fifth and Eighth
 3   Amendments to the U.S. Constitution;
 4   3.    Order the Defendants to assess each class member’s financial ability to pay in
 5   setting a bond under 8 U.S.C. § 1226(a) and consider whether an alternative form of
 6   secured bond or other conditions of supervision, alone or in combination with a lower
 7   bond, would mitigate flight risk and permit the class member’s release. If a class
 8   member is unable to pay any bond set by the IJ after making good faith efforts to do
 9   so, Defendants must provide the class member with a new bond hearing before the IJ
10   to determine if he or she may be released on an alternative form of secured bond or
11   other conditions of supervision, alone or in combination with a lower bond;
12   4.    Grant Plaintiffs Hernandez and Matias’s writs of habeas corpus and order a
13   bond hearing where the IJ considers their financial ability to pay a monetary bond and
14   whether an alternative form of secured bond or other conditions of supervision, alone
15   or in combination with a lower bond, would mitigate flight risk and permit the
16   Plaintiffs’ release. If the Plaintiff is unable to pay any new bond set by the IJ after
17   making good faith efforts to do so, Defendants must provide him or her with a new
18   bond hearing before the IJ to determine if he or she may be released on an alternative
19   form of secured bond or other conditions of supervision, alone or in combination with
20   a lower bond;
21   5.    Grant an award of attorneys’ fees and costs; and
22   6.    Grant such other relief as may be just and reasonable.
23                                                  Respectfully submitted,
24                                                  ACLU OF SOUTHERN CALIFORNIA
25   Dated: April 6, 2016                           /s/ Michael Kaufman
26                                                  MICHAEL KAUFMAN
                                                    Counsel for Plaintiffs-Petitioners
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